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no 440 (R=v. harley summons in a civil miami

UNITED STATES DISTRICT CoURT

 

 

for the
D_istri'ct of Delaware
Encoditech LLC :)l
)
)
Ph`:rmfij('s) )
v. § Civil Aetion No,. 113-864
Qairdio,` |n`c:. )
)
)
_ l )
DeHndanf(s) )
SUMMONS IN A CIVIL AC.TION

TO: (Dsfendnn`t’.\‘nmue'andaddr'e.\'.i') Qa|'diO, lnC.
o)'o GapitoI-Corporate Services_, |nc.
11115 S. Goverriors Ave.
Dover, DE_`19904

A lawsuit has been Hled against you.

' Within 21` `day"§`af_te`r"`s"éi'"vii:"é"oi"t]iié"`§i.irniii`o'ii§oii""ji`oii`(iiot"é`ou`iitiii§"thé`day `§oi_i`reeei\ie`d"it) "_ or'GO daye if jon ` " '

are the Urii_ted States_` or a United S_t_ates' ageney, or an officer or employee of the Uni_ted Sta.tes described in Fed. R. Civ_
P. 12 (a)(?) or'(3_) j you must serve on the'plaintiff an answer to the attached complaint or a motion under Rule' 12 of
the Federal Rules of Civil Procedure. The answer or motion must be sen/ed on the plaintiff or plaintiffs attorney,
\{vhose- name and address'jar_e: Stamatios Sta_mouli_s

STAMOUL]_S & WEINB_LATT lNC._

Two Fo)c Point Centre

6 Denny R_oad. Suite 307

Wi|mington, .Delaware 19809

Te|ephone: (302) 999-1540

If you'fail to respond, judgment by default will be entered against y_o.u for the relileC demanded in the complaint
You also must file your answer or motion with the court

CLER_K OF COURI_

 
 

Date: ____ 06!11]2018

 

igirrz!ure' of - er"'k oi~ 'Depufy Clerk

Case 1:18-cv-00864-I\/|N Document 5 Filed 06/12/18 Page 2 of 2 Page|D #: 40

AO 440 ('Rev. 06/12) Su.mmous i.n a Civil Aclion (Page 2)

Civil Action No. 18-864

PROOF OF SERVICE
(T his section should not be filed with the court unless required by Fed. R. Cr'v. P. 4 (l))

ThiS Sllnl[nOIlS for (name of individual and title, grany) Qardio, |nc_

was received by me on (dare) 06/1 1/2018

[I I personally served the summons on the individual at @lace)

 

011 (date) § 01’

 

CI I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

grl SCl'VCd the SIJI'£|IIlOl'IS 011 (name ofz'ndivr'duaD |riz CO|On_O[-tiz @ 12:52 p_m_ , WhO is

designated by law to accept service of process on behalf of (name ofargmiizarion) Capito| COrpO|-ate Services, lng1

 

1111B South Governors Ave, Dover, DE 19904 011 (daf€) 06!‘| 212018 § 01'

13 l returned the summons unexecuted because ; or

|:l Otl`lel‘ (specijj)):

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

/’
Date; 06/1 212018 \.)/(%Q /,LM
Server '(sjgirorur'e d

Tina |rizarry~Process Server
Printea‘ name and title

11115 S. Governors Ave.
Dover, DE 19904

 

Ser'ver ’s address

Additional information regarding attempted service, etc:

Documents served: Summons; Comp|aint for Patent |nfringement; Civi| Cover Sheet; District of De|aware Ru|e 73.1;
Report on the Fi|ing or Determination of an Action Regarding a Patent or Trademark; and Plaintiff's Ru|e 7.1 Statement

